    Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 1 of 10 PageID #: 53




                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF DELAWARE

ROTHSCHILD BROADCAST                             )
DISTRIBUTION SYSTEMS, LLC,                       )
                                                 )
                     Plaintiff,                  )
                                                 )
       v.                                        ) C.A. No. 20-666 (MN)
                                                 )
SPRINTCOM, INC.,                                 ) JURY TRIAL DEMANDED
                                                 )
                     Defendant.                  )

                   DEFENDANT SPRINTCOM, INC.’S ANSWER
            AND AFFIRMATIVE DEFENSES TO PLAINTIFF’S COMPLAINT

        Defendant SprintCom, Inc. (“SprintCom”) 1 , by and through its undersigned counsel,

submits this Answer and Affirmative Defenses to Plaintiff’s Complaint (the “Complaint”) served

by Plaintiff Rothschild Broadcast Distribution Systems, LLC (“Rothschild”).

        SprintCom denies all allegations in the Complaint that are not expressly admitted below.

SprintCom incorporates the headings used by Rothschild in its Complaint for the convenience of

the Court. SprintCom does not agree with any factual characterizations nor admit any allegations

made in, or inferences suggested by, such headings, and instead denies them.

        With respect to the unnumbered introductory paragraph in Rothschild’s Complaint,

SprintCom admits that Rothschild purports to bring an action for alleged infringement of U.S.

Patent No. 8,856,221 (the “’221 Patent”). SprintCom denies that the Complaint sets forth valid or

meritorious claims of patent infringement, and denies any allegation of infringement. SprintCom

denies the remaining allegations in the introductory paragraph of Rothschild’s Complaint.


1
 Although Plaintiff’s Complaint names Boost Worldwide, LLC, the Court has since ordered that
SprintCom, Inc. is substituted as the defendant in this action in place of Boost Worldwide, LLC.
See D.I. 8 (June 30, 2020). Therefore, all allegations directed to Boost Worldwide, LLC in the
Complaint are treated as being directed to SprintCom, Inc., and not Boost Worldwide, LLC, and
SprintCom, Inc. is answering accordingly herein.
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 2 of 10 PageID #: 54




                                            PARTIES

       1.      SprintCom is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 1, and on that basis denies them.

       2.      SprintCom admits that Corporation Service Company is located at 251 Little Falls

Drive, Wilmington, Delaware 19808, and is a registered agent for SprintCom. SprintCom denies

any remaining allegations of paragraph 2.

                                 JURISDICTION AND VENUE

       3.      SprintCom admits that Rothschild purports to bring an action arising under the

patent laws of the United States, 35 U.S.C. § 271 et seq. SprintCom admits that Rothschild purports

to seek damages, as well as attorney fees and costs. SprintCom denies the remaining allegations

of paragraph 3.

       4.      SprintCom admits that the Complaint purports to state a claim over which this Court

has subject matter jurisdiction, but denies that the Complaint sets forth valid or meritorious claims

of patent infringement, and denies any allegation of infringement. SprintCom denies the remaining

allegations of paragraph 4.

       5.      Denied.

       6.      SprintCom admits that the accused boostTV streaming service has been offered for

sale and/or sold in this District. SprintCom denies the remaining allegations of paragraph 6.

       7.      Denied.

                                        BACKGROUND

       8.      SprintCom admits that the ’221 Patent states on its face that it was issued on

October 7, 2014, and that it is titled “System and Method for Storing Broadcast Content in a Cloud-

Based Computing Environment.” SprintCom is without knowledge or information sufficient to




                                                 2
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 3 of 10 PageID #: 55




form a belief as to the truth of the remaining allegations of paragraph 8, and on that basis denies

them.

        9.       SprintCom is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 9, and on that basis denies them.

        10.      SprintCom is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 10, and on that basis denies them.

        11.      SprintCom states that the ’221 Patent speaks for itself. SprintCom denies the

remaining allegations in paragraph 11.

                                            COUNT ONE
                          (Infringement of United States Patent No. 8,856,221)

        12.      SprintCom repeats and incorporates by reference each preceding paragraph as if

fully set forth here.

        13.      SprintCom admits that Rothschild purports to bring an action arising under the

patent laws of the United States, in particular under 35 U.S.C. § 271, et seq.

        14.      Denied.

        15.      Denied.

        16.      Denied.

        17.      Denied.

        18.      SprintCom admits that paragraph 18 contains images that purport to be excerpts

from    websites         (https://www.boostmobile.com/support/faq/plans-services/boosttv.html   and

https://play.google.com/store/apps/details?id=com.boostmobile.boosttv&hl=en), and that those

excerpts speak for themselves. SprintCom denies any remaining allegations of paragraph 18.

        19.      SprintCom admits that paragraph 19 contains images that purport to be excerpts

from          websites        (https://www.boostmobile.com/support/faq/plans-services/boosttv.html,



                                                    3
 Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 4 of 10 PageID #: 56




https://play.google.com/store/apps/details?id=com.boostmobile.boosttv&hl=en,                  and

https://myaccount.boostmobile.com/sign-in.html?dest_PROFILE), and that those excerpts speak

for themselves. SprintCom denies any remaining allegations of paragraph 19.

       20.     SprintCom admits that paragraph 20 contains an image that purports to be an

excerpt from a website (https://myaccount.boostmobile.com/sign-in.html?dest_PROFILE), and

that this excerpt speaks for itself. SprintCom denies any remaining allegations of paragraph 20.

       21.     SprintCom admits that paragraph 21 contains images that purport to be excerpts

from   websites    (https://www.boostmobile.com/support/faq/plans-services/boosttv.html       and

https://play.google.com/store/apps/details?id=com.boostmobile.boosttv&hl=en), and that those

excerpts speak for themselves. SprintCom denies any remaining allegations of paragraph 21.

       22.     SprintCom admits that paragraph 22 contains an image that purports to be an

excerpt from a website (https://www.boostmobile.com/support/faq/plans-services/boosttv.html),

and that this excerpt speaks for itself. SprintCom denies any remaining allegations of paragraph

22.

       23.     SprintCom admits that paragraph 23 contains images that purport to be excerpts

from   websites    (https://www.boostmobile.com/support/faq/plans-services/boosttv.html       and

https://play.google.com/store/apps/details?id=com.boostmobile.boosttv&hl=en), and that those

excerpts speak for themselves. SprintCom denies any remaining allegations of paragraph 23.

       24.     SprintCom admits that paragraph 24 contains images that purport to be excerpts

from a website (https://www.boostmobile.com/support/faq/plans-services/boosttv.html), and that

those excerpts speak for themselves. SprintCom denies any remaining allegations of paragraph 24.

       25.     SprintCom admits that paragraph 25 contains an image that purports to be an

excerpt from a website (https://www.boostmobile.com/support/faq/plans-services/boosttv.html),




                                                4
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 5 of 10 PageID #: 57




and that this excerpt speaks for itself. SprintCom denies any remaining allegations of paragraph

25.

       26.     Denied.

       27.     Denied.

       28.     Denied.

       29.     Denied.

       30.     SprintCom admits that what purports to be a copy of the ’221 Patent is attached to

the Complaint as Exhibit A.

       31.     Denied.

       32.     Denied.

       33.     Denied.

       34.     SprintCom is without knowledge or information sufficient to form a belief as to the

truth of the allegations of paragraph 34, and on that basis denies them.

       35.     Denied.

                                 DEMAND FOR JURY TRIAL

       36.     SprintCom admits that Rothschild’s Complaint contains a demand for a jury trial

under Rule 38 of the Federal Rules of Civil Procedure to which no response is required.

                                    PRAYER FOR RELIEF

       SprintCom denies any factual allegations contained in the prayer for relief of the

Complaint, and further denies that Rothschild is entitled to any of the relief sought.

                SPRINTCOM’S AFFIRMATIVE AND OTHER DEFENSES

       Upon information and belief, and subject to its responses above, SprintCom asserts the

following defenses in response to the allegations of the Complaint, without admitting or

acknowledging that SprintCom bears the burden of proof as to any of them or that any must be


                                                 5
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 6 of 10 PageID #: 58




pleaded as defenses. Regardless of how such defenses are listed, SprintCom undertakes the burden

of proof only as to those defenses that are deemed affirmative defenses as a matter of law.

SprintCom expressly reserves the right to amend or raise additional defenses pursuant to any

docket control order or as additional information becomes available through further investigation

and discovery.

                                     FIRST DEFENSE
                               (FAILURE TO STATE A CLAIM)

       1.        The Complaint fails to state a claim upon which relief can be granted.

                                      SECOND DEFENSE
                                    (NON-INFRINGEMENT)

       2.        SprintCom has not infringed and does not infringe, literally or under the doctrine

of equivalents, any valid and enforceable claim of the ’221 Patent.

                                THIRD DEFENSE
              (INVALIDITY, INELIGIBILITY, AND UNENFORCEABILITY)

       3.        The claims of the ’221 Patent are invalid, ineligible, unenforceable, or void for

failure to satisfy one or more of the requirements of patentability set forth in Title 35 of the United

States Code, including, but not limited to, 35 U.S.C. §§ 101, 102, 103, 112, 116, and/or 251.

                                FOURTH DEFENSE
                   (PROSECUTION HISTORY ESTOPPEL/DISCLAIMER)

       4.        By reason of statements, representations, admissions, concessions, arguments,

omissions, and/or amendments made by and/or on behalf of the applicants during the prosecution

of the patent applications that led to the issuance of the ’221 Patent, Rothschild’s claims of patent

infringement are barred, in whole or in part, by the doctrine of prosecution history estoppel and/or

disclaimer.




                                                  6
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 7 of 10 PageID #: 59




                                      FIFTH DEFENSE
                                   (EQUITABLE DEFENSES)

       5.      Rothschild’s claims are barred, in whole or in part, under principles of equity,

including but not limited to the doctrines of waiver, implied waiver, estoppel, equitable estoppel,

acquiescence, and/or unclean hands.

                                       SIXTH DEFENSE
                                     (LACK OF STANDING)

       6.      To the extent that Rothschild is not or was not the sole and total owner of all

substantial rights in the ’221 Patent as of the filing date of the Complaint, Rothschild lacks standing

to bring one or more claims in this lawsuit.

                                 SEVENTH DEFENSE
                        (STATUTORY LIMITATION ON DAMAGES)

       7.      In the event that SprintCom is found to infringe any valid and enforceable claim of

the ’221 Patent, any damages are limited by, without limitation, 35 U.S.C. §§ 286, 287, and/or

288.

                           EIGHTH DEFENSE
  (EXPRESS LICENSE, IMPLIED LICENSE, PATENT EXHAUSTION, AND SINGLE
                           RECOVERY RULE)

       8.      Upon information and belief, Rothschild’s claims are barred, in whole or in part,

by express license agreements and/or under the doctrines of implied license, patent exhaustion, or

single recovery rule. For example but without limitation, Rothschild’s claims for damages for

infringement are limited or entirely foreclosed to the extent that allegedly infringing components

and/or products are supplied, directly or indirectly, to SprintCom by an entity or entities having a

license to the ’221 Patent.




                                                  7
  Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 8 of 10 PageID #: 60




                                        NINTH DEFENSE
                                        (ENSNAREMENT)

       9.      Rothschild cannot assert the claims of the ’221 Patent under the doctrine of

equivalents because such an asserted claim scope would encompass or ensnare the prior art.

                                         TENTH DEFENSE
                                     (NO EXCEPTIONAL CASE)

       10.     Rothschild cannot prove that this is an exceptional case justifying an award of

attorneys’ fees against SprintCom pursuant to 35 U.S.C. § 285.

                                ELEVENTH DEFENSE
                       (RESERVATION OF REMAINING DEFENSES)

       11.     SprintCom reserves all defenses under Rule 8(c) of the Federal Rules of Civil

Procedure, the Patent Laws of the United States, and any other defenses, at law or in equity, which

may now exist or in the future become available based on discovery.

                                         JURY DEMAND

       SprintCom demands a trial by jury on all issues and claims so triable.

                                      PRAYER FOR RELIEF

       SprintCom respectfully requests that the Court enter judgment in its favor and against

Rothschild as follows:

       A.      Dismissing Rothschild’s claims against SprintCom with prejudice;

       B.      Denying all relief that Rothschild seeks in its Complaint against SprintCom;

       C.      Ruling in favor of SprintCom on all of SprintCom’s affirmative defenses;

       D.      Awarding SprintCom its expenses and costs in accordance with Rule 54(d) of the

Federal Rules of Civil Procedure;

       E.      Finding this case to be exceptional under 35 U.S.C. § 285, and awarding SprintCom

its costs and attorneys’ fees; and



                                                8
 Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 9 of 10 PageID #: 61




      F.     Awarding SprintCom any other relief that the Court deems just and proper.



                                             POLSINELLI PC

                                             /s/ Stephen J. Kraftschik
                                             Stephen J. Kraftschik (#5623)
                                             Christina B. Vavala (#6135)
                                             222 Delaware Avenue, Suite 1101
                                             Wilmington, DE 19801
OF COUNSEL:
                                             (302) 252-0920
                                             skraftschik@polsinelli.com
David E. Finkelson
                                             cvavala@polsinelli.com
MCGUIREWOODS LLP
Gateway Plaza
                                             Attorneys for Defendant SprintCom, Inc.
800 East Canal Street
Richmond, VA 23219-3916
(804) 775-1000

August 10, 2020




                                             9
 Case 1:20-cv-00666-MN Document 11 Filed 08/10/20 Page 10 of 10 PageID #: 62




                               CERTIFICATE OF SERVICE

       I hereby certify that on August 10, 2020, I caused the foregoing to be electronically filed

with the Clerk of the Court using CM/ECF, which will send notification of such filing to all

registered participants.

       I further certify that I caused copies of the foregoing document to be served on August 10,

2020, upon the following in the manner indicated:

Jimmy Chong                                                             BY ELECTRONIC MAIL
CHONG LAW FIRM, P.A.
2961 Centerville Road, Ste. 350
Wilmington, DE 19808
(302) 999-9480
chong@chonglawfirm.com
Attorneys for Plaintiff Rothschild Broadcast
Distribution Systems, LLC

Jay Johnson                                                             BY ELECTRONIC MAIL
KIZZIA JOHNSON PLLC
1910 Pacific Avenue
Dallas, TX 75201
(214) 451-0164
jay@kjpllc.com
Attorneys for Plaintiff Rothschild Broadcast
Distribution Systems, LLC




                                                    /s/ Stephen J. Kraftschik

                                                    Stephen J. Kraftschik (#5623)
